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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 11-422
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   VASILE CIOCHINA,                     )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Bank Fraud

15 Date of Detention Hearing:     September 7, 2011.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant was not interviewed by Pretrial Services. His background and



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01 personal information is unknown or unverified. He was born in Moldova. An immigration

02 detainer has been filed.

03         2.      Defendant does not oppose entry of an order of detention.

04         3.      Defendant poses a risk of nonappearance due to not being interviewed by

05 Pretrial Services and an immigration detainer. He poses a risk of danger based on the nature of

06 the instant offense.

07         4.      There does not appear to be any condition or combination of conditions that will

08 reasonably assure the defendant’s appearance at future Court hearings while addressing the

09 danger to other persons or the community.

10 It is therefore ORDERED:

11      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

12         General for confinement in a correction facility separate, to the extent practicable, from

13         persons awaiting or serving sentences or being held in custody pending appeal;

14      2. Defendant shall be afforded reasonable opportunity for private consultation with

15         counsel;

16      3. On order of the United States or on request of an attorney for the Government, the

17         person in charge of the corrections facility in which defendant is confined shall deliver

18         the defendant to a United States Marshal for the purpose of an appearance in connection

19         with a court proceeding; and

20      4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

21         for the defendant, to the United States Marshal, and to the United State Pretrial Services

22         Officer.



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01       DATED this 7th day of September, 2011.

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03                                                A
                                                  Mary Alice Theiler
04                                                United States Magistrate Judge

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